EXHIBIT D
Jennifer Finger

From:                                    Nellums, Dale <Dale.Nellums@aig.com>
Sent:                                    Thursday, August 17, 2023 9:18 AM
To:                                      Smith, Thomas
Cc:                                      Eckenrode, Tad; Jennifer Finger; Morgan, Russ; twarburton@bradley.com
Subject:                                 RE: St Louis Breach Letter : Mail Christina Brooks (Dejuan Brison) v. City of St. Louis, et al.
                                         2014-PL-06487 AIG #7930180762US


Tom,

Please allow me to clarify. Lexington has not refused to retain counsel to defend CHS TX. Lexington is currently barred
by the bankruptcy court order from depleting the aggregate policy limit by paying defense counsel. Because we cannot
(yet) pay anything, we have not taken a position, which includes the fact that Lexington has not affirmatively denied a
duty to defend. We are in the process of analyzing our potential coverage obligations. In the interim, Lexington does
not object to CHS TX retaining Bradley Arant to defend it. Lexington otherwise reserves all rights, and recognizes that
CHS TX and its affiliates likewise reserve their rights.

Thank you,

E. Dale Nellums
Elizabeth Dale Nellums, J.D.
Senior Complex Analyst | Healthcare Malpractice Claims | AIG Claims, Inc.
CELL 470-733-4638 | dale.nellums@aig.com | www.aig.com


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